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                                                                                   4:32 pm, Sep 15 2021
                                                                                   AT BALTIMORE
                       IN THE UNITED STATES DISTRICT COURT                         CLERK, U.S. DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND                             DISTRICT OF MARYLAND
                                                                                   BY ______________Deputy


 IN THE MATTER OF A CRIMINAL                                1:21-mj-2582 TMD
                                                  Case No. ____________________
 COMPLAINT AGAINST ZJUONTA
 MAKKEAL HAMMETT



                 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT


       I, Kevin Ermer, Task Force Officer with the Drug Enforcement Administration (“DEA”),

being duly sworn, depose and state as follows:

       1.      This Affidavit is submitted in support of a Criminal Complaint for Zjuonta Makkeal

HAMMETT. As detailed below, there is probable cause to believe that, on or about September 1,

2021 Zjuonta Makkeal HAMMETT violated 18 U.S.C. § 922(g), Felon in Possession of a Firearm.

The maximum penalty for this offense is ten years of imprisonment, a fine of $250,000, and three

years of supervised release.

       2.      I have been a member of the Maryland Transportation Authority Police Department

since 2005. In April 2008, I became a Detective in the Criminal Investigations Division and was

subsequently assigned as a Task Force Officer (“TFO”) with the Drug Enforcement

Administration (“DEA”) HIDTA Group 51. I have been serving as a TFO with the DEA since

March 28, 2011. Thus, I am an “investigative or law enforcement officer . . . of the United States”

within the meaning of 18 U.S.C. § 2510(7), that is, an officer of the United States empowered by

law to conduct investigations of and to make arrests for offenses enumerated in 18 U.S.C. § 2516.

       3.      As part of my law enforcement training, I successfully completed a seven-month

entrance level training course in criminal investigations while attending the Maryland

Transportation Authority Police Academy. Additionally, I have received over 40 hours of training
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in drug/narcotics enforcement, recognition, street packaging, and controlled dangerous substance

(“CDS”) Paraphernalia while attending Maryland Transportation Authority Police Academy. I

have also received 100 hours of specialized training in proactive criminal interdiction, to include

narcotics trafficking, identifying hidden compartments, patrol drug investigations, narcotics

surveillance investigation, drug identification, hotel/motel criminal interdiction (Drugs &

Prostitution), and airport drug interdiction; and have received training in vehicle theft

investigations by the Baltimore City Police RATT TEAM (Vehicle Theft Task Force).

       4.      My training has also included instruction in Criminal Law, Probable Cause, Search

and Seizure Techniques, Use of Informants, Surveillance Methods and the Constitutional Rights

of Citizens. During my seven years on duty, I have made over two hundred (200) arrests, and

participated in over one thousand (1,000) arrests involving CDS Violations, felony and

misdemeanor theft investigations, vehicle thefts, assaults, domestic violence, fraud, firearms, etc.

in addition to approximately 100 traffic and fugitive arrests. I have also participated in the writing

and execution of numerous Search & Seizure warrants. Additionally, I know based on my training,

knowledge and experience that drug traffickers commonly use vehicles to pick up and deliver

drugs; meet with drug customers, sources and co-conspirators; transport drugs and proceeds to

stash locations and transport money to suppliers or third-parties to pay for the drugs. I am familiar

with the use by drug dealers of homes and residences rented or held in the names of other

individuals, as well as the use of storage lockers and warehouses to store large inventories of

marihuana.

       5.      I have interviewed many drug traffickers and learned from those interviews the

various means and methods of traffickers. I have successfully completed the three-day CDS

training seminar presented by the United States Drug Enforcement Administration. During my




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tenure as a Police Officer, I have arrested numerous persons for violations of the CDS laws. I have

also seized large amounts of heroin, cocaine, marijuana, and various other substances controlled

by the State of Maryland.

       6.      I have participated in the execution of numerous search and seizure warrants, which

have yielded large amounts of CDS and have led to the arrests of numerous persons for violations

of the CDS laws. I have testified in CDS prosecutions in the Circuit and District Courts of

Maryland. In addition, through my investigative experience, I know that persons involved in the

illegal distribution of CDS keep and maintain records of their various activities. Experience in

similar cases has established that such records are regularly concealed in a suspect’s automobile,

residence, office, on his person, in warehouses and storage lockers, and that they take various

forms. Documents commonly concealed by traffickers, include but are not limited to notes in

code, deposit slips, wired money transactions, savings pass books, hidden bank accounts,

photographs of co-conspirators, various forms of commercial paper, personal address books,

notebooks, records, receipts, ledgers, travel receipts (rental receipts, airline tickets, bus tickets,

and/or train tickets) both commercial and private, money orders and other papers relating to the

ordering, transportation, sale and distribution of controlled dangerous substances or other such

documents which will contain identifying data on the co-conspirators. The aforementioned items

are kept in locations that are considered safe by the drug traffickers such as safety deposit boxes,

residences, vehicles and on their person, where they have ready access to them. I know that drug

traffickers often have several residences decreasing the likelihood of detection by law

enforcement.

       7.      I have set forth only the facts I believe are necessary to establish probable cause for

the issuance of a criminal complaint. The information contained in this Affidavit is based upon




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my review of reports and documents, physical surveillances, observations, interviews and

investigative activity by myself and other law enforcement officers.

        8.       On August 26, 2021, the Honorable Thomas M. DiGirolamo of the United States

District Court for the District of Maryland authorized search and seizure warrants for the residence

and vehicle used by Zjuonta HAMMETT and Lakesha SOLOMON. Specifically, the warrants

authorized the search of 6125 Everall Avenue, Baltimore, Maryland, and a 2009 Mercedes CL550,

with Maryland registration 8CA3227. During the course of this investigation, HAMMETT had

been observed by investigators going into and out of 6125 Everall Avenue, Baltimore, Maryland

on a regular basis, and the above-described Mercedes used by HAMMETT has been parked at the

residence on a regular basis.

        9.       These warrants were served on September 1, 2021, during which time multiple

firearms, ammunition, documents, and evidence of drug trafficking were seized as described in

further detail below.

        10.      During the search of 6125 Everall Avenue, Baltimore, MD, HAMMETT and

SOLOMON were present for the search. HAMMETT and SOLOMON were read their Miranda

Rights. HAMMETT and SOLOMON both told investigators that firearms were present in the

master bedroom of the residence. SOLOMON admitted that she possessed a Ruger .380 caliber

handgun that was located in a gold purse on the master bedroom floor, and a Glock 43x, 9mm

caliber handgun in her master bedroom safe. Investigators ultimately recovered those guns. 1

        11.      During the search of the master bedroom safe, investigators also recovered a Taurus

Millennium PT 111 G2, 9mm Caliber Handgun, Serial # TGU42741, with a loaded 10 round



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  SOLOMON indicated that both firearms were registered to her and that they were the only firearms in the residence
to her knowledge. SOLOMON provided a key to her master bedroom safe which was located in her master bedroom.
Investigators did in fact locate the two firearms described by SOLOMON.


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magazine. HAMMETT was then questioned about the Taurus Handgun and told investigators, in

substance, that the firearm belonged to him. HAMMETT stated, in substance, that he purchased

the firearm during a street purchase. Additionally, in the master bedroom, investigators located a

black bin on the master bedroom floor next to the right nightstand. The bin contained male clothing

and documents addressed only to HAMMETT. Also located in the same bin was a box of

Remington UMC .45 Caliber Ammunition with approximately 27 rounds of ammunition.

Investigators then observed that HAMMETT’s driver’s license and documents on and throughout

the right nightstand in the master bedroom. In the bottom drawer of the nightstand, investigators

located a digital scale with a visible white powder residue. In the same drawer, investigators

located multiple bags containing boxes full of blue top glass vials which are commonly used for

street level drug sales. Investigators also located a gray plastic bag containing multiple rounds of

.40 Caliber ammunition with ballistic tips. HAMMETT admitted to investigators, in substance,

that he was the owner of the ammunition and stated that it was old and that he no longer has the

firearms associated with that ammunition.

       12.     HAMMETT has previously been convicted of possession with intent to distribute

controlled dangerous substances in Maryland State Court. On February 1, 1999, HAMMETT was

sentenced to ten years imprisonment, with eight years of that term suspended. Accordingly,

HAMMETT is prohibited from possessing a firearm, and from the length of his sentence, knew or

should have known that he was convicted of a crime punishable by more than one year in prison.

       13.     I consulted with Special Agent Arnold J. Esposito of the Bureau of Alcohol,

Tobacco, Firearms and Explosives (“ATF”). From that conversation I determined that Taurus

firearms are generally manufactured outside of the State of Maryland. Thus, I believe the Taurus

Millennium PT 111 G2, 9mm Caliber Handgun, Serial # TGU42741 affected interstate commerce.




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       14.    There is probable cause to believe that HAMMETT violated 18 U.S.C. § 922(g)(1),

Felon in Possession of a Firearm.


      WHEREFORE, I respectfully request that the Court authorize the attached Criminal
Complaint.



I declare under the penalty of perjury that the foregoing is true and correct to the best of my

knowledge.



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                                            Task Force Officer Kevin ErmerErm
                                            Drug Enforcement Administration



                                                                      y telephone
Affidavit submitted by email and attested to me as true and accurate by     p     consistent with
Fed. R. Crim. P. 4.1 and 4(d) this         day of September, 2021.




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                                            Hon. Thomas
                                            H    Th         M. DiGirolamo
                                                            M   DiGi l
                                            United States Magistrate Judge




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